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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

In Re: Oil Spill by the Oil Rig “Deepwater            §              MDL NO. 2179
       Horizon” in the Gulf of Mexico, on             §
       April 20, 2010                                 §              SECTION: J
                                                      §
This Document Relates to:                             §              JUDGE BARBIER
                                                      §
In Re: The Complaint and Petition of                  §              MAG. JUDGE SHUSHAN
       Triton Asset Leasing GmbH, et al.              §
       Civil Action No. 10-2771                       §

 MEMORANDUM IN SUPPORT OF MOTION OF CLAIMANTS, 30 DEGREE BLUE,
  LLC, ET AL., TO EXTEND TIME FOR FILING CLAIMS PURSUANT TO THE
                             MONITION

       COME NOW Claimants, 30 Degree Blue, LLC, et al., by and through undersigned

counsel, and submit their Memorandum in Support of Motion of Claimants, 30 Degree Blue,

LLC, et al., to Extend Time for Filing Claims Pursuant to the Monition, as follows:

       1. The court in In Re Unterweser Reederei, GMBH, 428 F. 2d 888 (5th Cir. 1970)

emphasized the equitable nature of a court in limitation proceedings, as follows:

               The Supreme Court regarding limitation proceedings, has stated:

               [T]his court has by its rules and decisions given the statute a very broad and
               equitable construction for the purpose of carrying out its purpose, and for
               facilitating a settlement of the whole controversy over such losses as are
               comprehended within it, and that all the ease with which right can be adjusted in
               equity is intended to be given in the proceeding.

Id. at 895-96, citing Hartford Accident & Indem. Co. v. Southern P. Co., 273 U.S. 207, 215, 47

S.Ct. 357, 359, 71 L.Ed. 612 (1927).

       2. This court has the discretion, sitting as a court of equity in Admiralty, to extend the

time period for Claimants to file claims in the limitation action in the event of an unfavorable

ruling by the court on the Motion for Order on Claimants’, 30 Degree Blue, LLC, et al.,

Objections to Jurisdiction and Venue and to Enforcement of Monition, and Reservation of
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Rights, and, if such unfavorable ruling is appealed, to extend the filing period for a reasonable

time after a final determination of the appeal. In Re Wood’s Petition, 230 F.2d 197 (2nd Cir.

1956).

         The court should, in the interest of justice and equity, extend the time for Claimants to

file their claims in the limitation proceedings pending appeal of any unfavorable ruling on the

Motion for Order on Claimants’, 30 Degree Blue, LLC, et al., Objections to Jurisdiction and

Venue and to Enforcement of Monition, and Reservation of Rights.

                                                           Respectfully Submitted:


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                                                        ATTORNEYS FOR CLAIMANTS


                                                        by:               /S/
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                                    CERTIFICATE OF SERVICE

        I hereby certify that the above and foregoing Memorandum in Support of Motion of
Claimants, 30 Degree Blue, LLC, et al., to Extend Time for Filing Claims Pursuant to the
Monition, has been served on all counsel by electronically uploading the same to Lexis Nexis
File & Serve in accordance with Pretrial Order No. 12, and that the foregoing was electronically
filed with the Clerk of Court of the United States District Court for the Eastern District of
Louisiana by using the CM/ECF System, which will send a notice of electronic filing in
accordance with the procedures established in MDL 2179, on this 22nd day of April, 2011.


                                                                  /S/
                                                        Samuel T. Adams




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